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IN THE U.S. ])ISTRICT COURT F()R THE
MIDDLE DISTRICT OF'PENNSYLVANIA

K.E. , _ : CIVlL ACTION

Plaintiff :

: Doeket No. 1:15-CV-1634
V- : Honorable Christopher C. Conner,
' : Cllief Judge

DOVER AREA SCHOOL DIS'I‘RICT, :
and MATTIIEW PUTERBAUGH :

Defendant :

. JURY TRIAL DEMANDED
.lolNT sTlPULATIoN FOR `nIslvnssAi .wlTH PREJuDICE
Pursuant to the settlement agreement reached and placed upon the record in this matter
during the July, 2018 Civil 'I`rial conducted, and Federal Rnle of Civil Procedure 41(a)(1)(A)(ii),
Plaintiii` and Defendant, Dover Al'ea School Distriet, by and through their respective legal
counsei, stipulate and agree to dismiss this action with prejudiee, with each party to bear its own

costs, attomey’s fees and expenses

DATE: September 21, 2018 Respectfu]ly submitted,

 

34 North Queen Sv.'eet
York, Pennsylvania 17403

 

 

  

 

 

a
». n ~ 'O’Donnell, Esquire

Marshall Dennehey Warner Coleman & Goggin
100 Corporabe Center Drive, Ste. 201
Camp Hill, Pennsylva.nia, 17011

_ Counse£for Dover Area School District

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""'Couhse!for'K"E., 'Plairzn'jj""' "' m… "' '

